          Case 1:18-mj-00569-MSN Document 12 Filed 08/02/19 Page 1 of 2 PageID# 32

Prob 12(10/09)
VAE (rev. 5/17)
                                     UNITED STATES DISTRICT COURT
                                                for the
                                     EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Asia Copeland                                            Docket No. 1:18MJ569

                                                   Petition on Probation

        COMES NOW STANLEY LEIGH. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Asia Copeland, who was placed on supervision by the Honorable Michael
S. Nachmanoff, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 25th day of
February, 2019. who fixed the period of supervision at 6 months, and imposed the general terms and conditions
heretofore adopted by the Court and also imposed special conditions and terms as follows:

                                                      See Page 2


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                      See Attachment(s)



PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


RETURNABLE DATE: /Wj ^o, '2X>1^ P i°/YfA


 ORDER OF COURT                                                   I declare under the penalty of perjury that the
                                                                  foregoing is true and correct.
 Considered and ordered this 1/  day of
 2019 and ordered filed and made a part                           Executed on:                  Digitally signed by
 records in the above case.
                                                                                  Stanley       Stanley Leigh
                                                                                                Date: 2019.08.01
                                                                                  Leigh         15:21:34 -04'00'

                                                                  Stanley E. Leigh
                          /s/                                     U.S. Probation Officer
           Michael S. Nachmanoff       tfA:                       703-299-2359
           United States Magistrate Judge
                     Michael S. Nachmanoff                        Place Alexandria. Virginia
                  United States Magistrate Judge




TO CLERK’S OFFICE
       Case 1:18-mj-00569-MSN Document 12 Filed 08/02/19 Page 2 of 2 PageID# 33

Petition on Probation
Page 2
RE: Copeland, Asia

OFFENSE: Reckless Driving, in violation of 18 U.S.C. § 13 assimilating VA Code § 46.2-852.

SENTENCE: On February 25, 2019, Ms. Copeland was sentenced to a 6-month term of supervised probation
with the following special conditions:

    1. The defendant shall enter and successfully complete an alcohol education program as directed.

   2. The defendant shall not operate a motor vehicle anywhere in the United States for a period of six (6)
      months except: a) to, from and as directly required by the defendant's employment, b) to and from the
      probation office, c) to and from the alcohol program, d) to and from this court, e) to and from medical
      appointments with a schedule approved in advance by probation.

   3. The defendant shall pay the $150 fine and $25 special assessment within 30 days.

ADJUSTMENT TO SUPERVISION: Ms. Copeland resides alone in an apartment in the town of Quantico, and
she is employed as a medical assistant by Advanced Spine and Pain in Stafford, Virginia. On April 30, 2019, the
defendant completed an intake with the Bull Run Alcohol Safety Action Program (ASAP). The defendant has not
paid the monetary penalties in this case.

A recent records check did not reveal any warrants or new arrests, and her Virginia operator’s license is
suspended.

VIOLATIONS: The following violations are submitted for the Court’s consideration.

SPECIAL CONDITION:                   FAILURE TO COMPLETE ALCOHOL TREATMENT.

On July 16, 2019, this officer received correspondence from the ASAP program indicating the defendant was
unsuccessfully discharged from alcohol treatment on July 12, 2019.

SPECIAL CONDITION:                   FAILURE TO PAY THE FINE AND SPECIAL ASSESSMENT
                                     WITHIN 30 DAYS.

As of this writing, Ms. Copeland has not paid the monetary penalties imposed in this case.

SEL/smk




                                                                                                    Prob 12(10/09)
                                                                                                    VAE (rev. 5/17)
